Case 5:09-cr-00015-BJB Document 597 Filed 12/14/10 Page 1 of 3 PageID #: 1568




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION
                              CASE NO. 5:09-CR-00015-R

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.

RODNEY EDWARD MOORE, et al.                                                     DEFENDANTS


                           MEMORANDUM OPINION & ORDER

       This matter comes before the Court upon Defendant Rodney Edward Moore’s Motion to

Exclude Certain Evidence Disclosed by the United States (DN 590). This Court has reviewed

the record before it and need not wait for Government’s response. This motion is now ripe for

adjudication. For the reasons that follow, Defendant’s Motion is GRANTED.

                                       BACKGROUND

       Defendant Rodney Edward Moore was arrested following a lengthy investigation by the

Drug Enforcement Administration (DEA) and local law enforcement officers into the sale of

crack cocaine in Hopkinsville, Kentucky. He is accused of conspiracy to possess and distribute

fifty grams or more of crack cocaine (violation of 21 U.S.C. §§ 841(b)(1)(A), 846) and

knowingly possessing a handgun having already been convicted of a felony (violation of 18

U.S.C. §§ 922(g)(1), 924(a)(2)). This matter is set for trial on December 13, 2010. In this

motion, Moore seeks to exclude from evidence his prior criminal activities and his past felony

convictions.




                                                1
Case 5:09-cr-00015-BJB Document 597 Filed 12/14/10 Page 2 of 3 PageID #: 1569




                                            ANALYSIS

       Moore avers that his past criminal activity and prior felony convictions should be

excluded from evidence under Federal Rule of Evidence 404(b). Moore agrees that should he

testify, Government “may inquire whether he is a convicted felon.” DN 590 at 1. He also

admits that Government may use his past felony convictions to prove the necessary elements of

Count 4 of the Indictment, possession of a firearm by a convicted felon. However, Moore

objects to the proposition that Government may inform the jury of the nature of his past

convictions. He further sets forth that evidence of his prior bad acts do not fit within Rule

404(b) and therefore should only be introduced if Moore testifies that he has never been involved

in selling drugs or is ignorant of drug trafficking. Finally, Moore charges that as the United

States has failed to notify him of whether it intends to use any evidence under Rule 404(b), and

on that basis alone, exclusion is proper.

       Under Rule 404(b),

       [e]vidence of other crimes, wrongs, or acts is not admissible to prove the character
       of a person in order to show action in conformity therewith. It may, however, be
       admissible for other purposes, such as proof of motive, opportunity, intent,
       preparation, plan, knowledge, identity, or absence of mistake or accident . . . .

Fed. R. Evid. 404(b). However the government must provide “reasonable notice in advance of

trial” of their intention to use evidence under Rule 404(b). Id. A district court “has the

discretion to determine reasonableness under the circumstances.” United States v. Barnes, 49

F.3d 1144, 1147 (6th Cir. 1995). The Advisory Committee notes to Rule 404(b) explain that it

“‘is intended to reduce surprise and promote early resolution on the issue of admissibility.’” Id.

(quoting Fed. R. Evid. 404(b) advisory committee’s note (1991 amendment)).




                                                 2
Case 5:09-cr-00015-BJB Document 597 Filed 12/14/10 Page 3 of 3 PageID #: 1570




       The Court’s scheduling order stated that all evidence to be offered under Rule 404(b) be

noticed to defendants three weeks prior to trial. DN 537. Considering that the date for the

timely disclosure of Rule 404(b) evidence has passed and that the trial is scheduled to commence

on December 13, 2010, Moore’s motion is proper. Moore would have an insufficient amount of

time to challenge such evidence before the start of trial. Accordingly, the Court grants

Defendant’s motion and precludes Government from admitting his past felony convictions and

prior bad acts as Rule 404(b) evidence at trial. This ruling does not however preclude

Government from offering Moores’s past convictions and prior bad acts at trial for other

appropriate evidentiary purposes.

                                        CONCLUSION

       For the foregoing reasons, IT IS HEREBY ORDERED that Defendant’s motion (DN

590) is GRANTED.




                                                                                     December 13, 2010




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